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METROPOLITAN POLICE DEPARTMENT — CITY OF ST, LOUIS
OFFICE OF THE CHIEF OF POLICE

SPECIAL ORDER
Date Issued: November 6, 2013 OrderNo: SO 1-06
I:ffective Date: November 6, 2013 Expiration; Indefinite
Reference:
CALEA Standards:
Cancelled Publications:
Subject: RECORDING OF POLICE ACTIVITY
To: ALL BUREAUS, DISTRICTS AND DIVISIONS

PURPOSE: This policy provides officers with guidance for dealing with situations in which they are
being recorded, to include videotaping, audio-taping, or both, by members of the public or the media,

By Order of:

Y. On naaabt Delo—

D. SAMUEL DOTSON
Colonel
Chief of Police

 

 
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Case: 4:17-cv-02455-RLW Doc. #: 33-1 Filed: 10/12/17 Page: 9 of 11 PagelD #: 266

METROPOLITAN POLICE DEPARTMENT ~ CITY OF ST, LOUIS
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PURPOSE: This policy provides officers with guidance for dealing with situations in which they are
being recorded, to include videotaping, audio-taping, or both, by members of the public or the media.

POLICY: It is the policy of the St. Louis Metropolitan Police Department to ensure the protection and
preservation of every person’s Constitutional rights,

Mernbers of the public, including media representatives, have an unambiguous First Amendment right to
record officers in public places, as long as their actions do not interfere with the officer’s duties or the
safety of officers or others. SLMPD employees will not prevent or prohibit any person’s ability to
observe, photograph, and/or make a video recording (with or without simultaneous audio recording) of
police activity that occurs in the public domain so long as the person’s location, actions and/or behavior
do not create a legitimate, articulable threat to Officer safety, or an unlawful hindrance to successful
resolution of the police activity.

A, DEFINITIONS

1. Media; The storage source for visual or audio recordings, whether by film, analog, or digital
means,

2. Photographing: The act of capturing and storing a still image, whether in an ~
electronic/digital format, or on any type of light sensitive film (e.g., traditional 35mm film),

3 Recording: Capturing of images, audio, or both, by means of a video camera, cell phone,
audio recorder, or other device.

4, Video Recording: The act of capturing a series of images that, when replayed in succession,
reproduce a sequence of activities in motion. Video recordings may be stored on a length of
light-sensitive film, a videotape cassette, or in a digital format (e.g., removable memory
card), and may or may not contain a simultaneous audio recording.

5, Video Recording Device; For the purposes of this Order, a Video Recording Device
includes, but is not limited to, any device capable of capturing a still or moving image(s),
regardless of whether or not a simultaneous audio recording is included. Examples may
include any of the following devices:

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a. A cellular telephone of any make, model, or manufacturer, including those devices
referred to as “Smart Phones;”

b, A Personal Digital Assistant, also known as a Personal Data Assistant or PDA:

é: A tablet style mobile computer, commonly referred to as a “tablet,” such as an Apple
iPad or a BlackBerry; or

d, Any camera, whether still-photo and/or video, of any make, model, or manufacturer
regardless of whether or not the device is capable of capturing a simultaneous audio
recording, and regardless of how the device stores the images it captures.

B. GENERAL INFORMATION

1. Persons who are lawfully in public spaces or locations where they have a legal right to be
present—such as their home, place of business, or the common areas of public and private
facilities and buildings—have a First Amendment right to record things in plain sight or
hearing, to include police activity. Police may not threaten, intimidate, or otherwise
discourage or interfere with the recording of police activities. Officers should assume that
they are being recorded at all times when on duty in a public space.

2 As a result, officers must understand that any bystander has an absolute right to photograph
and/or video record the enforcement actions of any Police Officer so long as the bystanders
actions do not:

a, Place the safety of the bystander, or of any Police Officer(s), witness(es), victims(s),
or suspect(s), in jeopardy;

b. Hinder the execution or performance of an Officer’s official duties;

€. Interfere with or violate any law, ordinance or code, criminal or traffic;

d,  Obstruct police actions while engaging in a recording. For example, individuals may
not interfere through direct physical intervention, tampering with a witness, or by
persistently engaging an officer with questions or interruptions. The fact that
recording and/or overt verbal criticism, insults, or name-calling may be annoying,
does not of itself justify an officer taking corrective or enforcement action or ordering
that recording be stopped, as this is an infringement on an individual’s right to
protected speech;

€. Unreasonably impede the movement of emergency equipment and personnel or the
flow of vehicular or pedestrian traffic; or

f Attempt to incite an immediate breach of the peace or incite others to commit a
violation of the law.

C. ARREST

1. Persons who violate the foregoing restrictions should be informed that they are engaged in
prohibited activity and given information on acceptable alternatives, where appropriate, prior
to making an arrest.

2 Arrest of a person who is recording officers in public shall be related to an objective,
articulable violation of the law unrelated to the act of recording, The act of recording does
not, in itself, provide grounds for detention or arrest.

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3, Arrest of an individual does not provide an exception to the warrant requirement justifying
search of the individual’s recording equipment or media. While equipment may be seized
incident to an arrest, downloading, viewing, or otherwise accessing files requires a search
warrant. Files and media shall not be erased under any circumstances.

D. CONFISCATON OF RECORDING DEVICES AND MEDIA

1. | Recording equipment may not be confiscated unless the recording party is arrested, and the
recording is to be held as evidence for the crime in which the recording party was arrested,
Additionally, officers may not order an individual to show recordings that have been made
of enforcement actions or other police operations.

2, Nothing in this Order should be construed by Officers as an elimination of their ability to
seek out, collect, or otherwise gather evidence in the course of a criminal investigation. Ifan
Officer has probable cause to believe that a bystander is in possession of any still
photographs/images, video recordings, and/or audio/sound recordings that are, or could
reasonably be considered evidence related to a crime and/or the identification of a person
involved in a crime, the officers should:

a, Advise and receive instructions from a supervisor.

b. Ask the person in possession of the recording if he or she will consent to voluntarily
and temporarily relinquish the recording device or media so that it may be viewed
and/or copied as evidence.

¢. In exigent circumstances, in which it is reasonable to believe that the recording will be
destroyed, lost, tampered with or otherwise rendered useless as evidence before a
warrant can be obtained, the recording device or media may be confiscated under a
temporary restraint. A warrant must be obtained in order to examine and copy the
recording and the chain of custody must be clearly documented per department policy.

d. In exigent situations where it is objectively reasonable to believe that immediate
viewing of recordings is necessary to prevent death or serious bodily harm of another
before a warrant can be authorized, the recording device or media may be confiscated
and viewed.

9

Whenever a recording device or media is seized without a warrant or obtained by
consent, the seized item shall be held in police custody no longer than reasonably
necessaty for the police, acting with due diligence, to obtain a warrant. The device
must be returned at the earliest possible time and its owner/operator given instruction
on how it can be retrieved. In all cases property receipts shall be provided to the
owner.

3. Supervisory Responsibilities

A supervisor should be summoned to any incident in which an individual recording police
activity is going to be, or will most likely be, arrested or when recording equipment may be
seized without a warrant or lawful consent.

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